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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                 v.
                                                          Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant




                      JOINT MOTION TO AMEND BRIEFING SCHEDULE

       On August 30, 2019, defendant Michael Flynn filed a motion to compel the production of

Brady material, and for an order to show cause why the government should not be held in

contempt of court. (ECF #109). This Court held a hearing on September 10, 2019, during which

the Court set a briefing schedule for this motion, ordering the government to respond by

September 24, 2019 by 12:00 p.m.; the defendant to reply by October 15, 2019 by 12:00 p.m.;

and setting a hearing on the matter for October 31, 2019, at 2:00 p.m. (Minute Order of

September 11, 2019; ECF #114).

       On September 18, 2019, the Court issued a Minute Order continuing the hearing to

November 5, 2019, at 11 a.m. On September 20, 2019, the defendant filed a consent motion to

continue the hearing date to November 7, 2019, at 11 a.m. (ECF #115), which the Court granted

that same day.

       On September 23, 2019, the defendant filed an “Amendment” to his August 30, 2019,

motion to compel production of Brady material. (ECF #116). The government requires limited

additional time to review and respond to the defendant’s specific requests, both in his initial

motion and in his amended motion. The government estimates that it will take an additional

week to respond. The government therefor requests that this Court extend the government’s

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deadline to respond to the defendant’s motion to compel Brady to Tuesday, October 1, 2019, at

12 p.m.

       The defendant requests, in turn, that the Court extend his reply deadline to October 22,

2019, at 12:00 p.m.

       The parties agree that the date of the hearing, November 7, 2019, at 11 a.m., need not be

amended.at this time.

       Wherefore the government respectfully requests that the Court continue and reset the

deadlines associated with the defendant’s motion to compel the production of Brady material to

October 1, 2019, for the government’s response, and October 22, 2019, for the defendant’s reply.

                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                                    By: /s/

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Dated: September 23, 2019




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                               CERTIFICATE OF SERVICE


      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on September 23, 2019.




                                              ______/s/_______________
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